       Case
        Case1:22-cv-01433-SAG
             1:22-cv-01433-SAG Document
                                Document33-1
                                         34 Filed
                                             Filed08/18/23
                                                   08/18/23 Page
                                                             Page11ofof11



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND
                        BALTIMORE DIVISION



 Lionel Perry,
  Plaintiff,

         v.
                                                                          Case No. SAG-22-1433
 Department Of Public Safety and
   Correctional Services, et al,
  Defendants.


                                     XXXXXXXXX ORDER
                                   [PROPOSED]


        Upon consideration of the foregoing Joint Motion to Stay Proceedings to Allow for

Settlement Discussions, it is this _______          August
                                     18th day of ___________________, 2023, by the United States

District Court for the District of Maryland, it is hereby

        ORDERED, that the above captioned case will be stayed for ninety (90) days, until

           16
November ______, 2023. It is
                                                                                      3
        FURTHER ORDERED that no later than the expiration of this stay, by November ______,

2023, the parties file either a notice of settlement in principle or a request for assignment to a

Magistrate Judge for settlement proceedings.



        SO ORDERED.




                                                                        /s/
                                                            ______________________________
                                                            STEPHANIE A. GALLAGHER
                                                            United States District Judge
